Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 1 of 19                PageID #: 319




                       UNITED STATES DISTRICT COURT

                                  DISTRICT OF MAINE


 JOSEPH MCMULLIN,                              )
                                               )
                      Plaintiff                )
                                               )
 V.                                            )            1:17-CV-312-LEW
                                               )
 ANDREW W. PEIRSON,                            )
                                               )
                      Defendant                )


                   DECISION AND ORDER ON DEFENDANT’S
                     MOTION FOR SUMMARY JUDGMENT

       In this removed action, the Plaintiff, Joseph McMullin, alleges the Defendant,

Trooper Andrew W. Peirson, violated his “rights under the Fourth Amendment of the

United States Constitution to be free from excessive, unreasonable, or unnecessary force”

during an arrest for criminal OUI, 29-A M.R.S.A. § 2411. Pl.’s Compl. ¶ 28 (ECF No. 3-

2). Defendant Peirson moves for summary judgment on the Plaintiff’s excessive force

claim, arguing that his actions were objectively reasonable under the circumstances.

Alternatively, the Defendant argues that even if the Plaintiff’s rights were violated,

summary judgment is warranted on the basis of qualified immunity. Mot. Summ. J. (ECF

No. 24).

      Based on my review, I find that the Plaintiff has not raised genuine issue for trial to

support his contention that the force used was unreasonable and I, therefore, grant

Defendant’s motion.
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 2 of 19                 PageID #: 320




                                          FACTS

       I take the facts in the light most favorable to the Plaintiff. The summary judgment

facts are drawn from the parties’ stipulations and their statements of material facts

submitted in accordance with Local Rule 56. The Court will treat as undisputed a statement

of fact admitted by the opposing party. If a statement is denied or qualified by the opposing

party, or if an evidentiary objection is raised concerning the record evidence cited in

support of a statement, the Court will review those portions of the summary judgment

record cited by the parties, and will accept, for summary judgment purposes, the factual

assertion that is most favorable to the party opposing the entry of summary judgment,

provided that the record material cited in support of the assertion is of evidentiary quality

and is capable of supporting the party’s assertion, either directly or through reasonable

inference. D. Me. Loc. R. 56; Boudreau v. Lussier, 901 F.3d 65, 69 (1st Cir. 2018).

Additionally, in cases such as these where the events in question are captured on video and

the parties have stipulated to the authenticity and admissibility of the video, the court must

“view[ ] the facts in the light depicted by the videotape.” Scott v. Harris, 550 U.S. 372,

380-81 (2007); see also Mitchell v. Miller, 56 F. Supp. 3d 57, 61 (D. Me. 2014), aff’d, 790

F.3d 73 (1st Cir. 2015).

       On February 21, 2016, Defendant Peirson, a Trooper of the Maine State Police, was

on patrol in his marked police cruiser in Howland, Maine. Def.’s Statement of Material

Facts (“DSMF”) ¶¶ 1, 2 (ECF No. 23, #211). At approximately 8:00 pm, Trooper Peirson

stopped a vehicle operated by Plaintiff McMullin due to his reasonable and articulable

suspicion that Mr. McMullin was intoxicated. Id. ¶¶ 4-5; Joint Statement of Facts (“JSF”)

                                              2
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 3 of 19              PageID #: 321




¶ 1 (ECF No. 21, #208). Mr. McMullin was accompanied by two passengers in the vehicle:

Ashley McMullin, Mr. McMullin’s then 15-year-old daughter, and Kylie Tibbetts, the then

18-year-old girlfriend of Mr. McMullin’s son. DSMF ¶ 13.

       After a brief interaction during which Trooper Peirson observed that Mr.

McMullin’s speech was slurred, his eyes were glazed over, and he smelled of alcohol,

Trooper Peirson asked Mr. McMullin to step out of his vehicle and perform a variety of

field sobriety tests. Id. ¶¶ 12, 16. At the conclusion of these tests, both parties agree

Trooper Peirson had probable cause to arrest Mr. McMullin for criminal OUI, 29-A M.R.S.

§ 2411. Id. ¶ 17; JSF ¶ 2. Reliable blood alcohol content test results later confirmed

Trooper Peirson’s assessment, indicating that Mr. McMullin had a 0.149 blood alcohol

level. DSMF ¶¶ 96-97; JSF ¶ 3.

       After completing the field tests, Trooper Peirson informed Mr. McMullin he was

under arrest. DSMF ¶¶ 18, 19. Although Mr. McMullin never tried to run away from

Trooper Peirson, Pl. Add’l Statement of Material Facts (“PSMF”) ¶ 107 (ECF No. 30,

#278), he, nevertheless, failed to comply with Trooper Peirson’s eight separate requests to

turn around and put his hands behind his back. DSMF ¶¶ 18, 26, 29, 34, 36, 38, 44, 48.

Instead, Mr. McMullin consistently backed away from Trooper Peirson, repeating concerns

about his passengers’ safety and leaving his vehicle on the road. DSMF ¶¶ 20, 27, 37, 45,

49. Trooper Peirson repeatedly advised Mr. McMullin that the kids would be safe and that

he would ensure that somebody came to collect them. Id. ¶¶ 29, 34, 38, 40. After repeated

refusals, Trooper Peirson implored, “Don’t make your kids watch this, OK?” Id. ¶ 46.



                                            3
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 4 of 19                             PageID #: 322




          In the process of backing away from Trooper Peirson, Mr. McMullin alternated

between backing towards his car—at one point, contacting or nearly contacting the driver’s

side of the vehicle with his back—and backing across the road, away from his vehicle. Id.

¶¶ 31, 44, 48. On two separate occasions, Mr. McMullin entered the southbound, oncoming

lane of traffic. Id. ¶¶ 31, 48. Eventually, Trooper Peirson concluded, reasonably, that force

was necessary to effect Mr. McMullin’s arrest due to Mr. McMullin’s repeated refusals to

comply with his commands. Id. ¶ 53.

          While facing Mr. McMullin, Trooper Peirson grabbed one of Mr. McMullin’s wrists

and attempted to turn him around to handcuff him. DSMF ¶ 54; PSMF ¶ 103. As he did so,

Mr. McMullin tensed his body, resisting Trooper Peirson’s effort. DSMF ¶ 55. Trooper

Peirson then struck Mr. McMullin in the face. DSMF ¶ 57; PSMF ¶ 108.

          In his subsequent statements, Mr. McMullin asserts he was knocked unconscious

“when the Trooper first hit him.” PSMF ¶ 123; Dep. of Joseph McMullin (“McMullin

Dep”) 18-20, 38-41 (ECF No. 20-7, #156, 161). However, as discussed below, the record

establishes that any unconsciousness was, at most, momentary.                        To the extent Mr.

McMullin would suggest he experienced any extended unconsciousness the suggestion is

contradicted by the video record and Mr. McMullin’s own testimony and admissions.

Indeed, the objective audio 1 evidence is consistent with Trooper Peirson’s assertion that

Mr. McMullin was not knocked unconscious and even continued to converse and actively




1
    When Trooper Peirson took hold of Plaintiff and struck him, Plaintiff had backed into the opposite lane,
    outside of the camera’s view.

                                                      4
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 5 of 19                            PageID #: 323




resist arrest throughout the encounter. Def.’s Response to PSMF ¶ 123; DSMF ¶¶ 57, 66,

67, 71, 72, 75, 77, 79, 84, 86, 87.

          Whether momentarily unconscious or not, the parties agree that Trooper Peirson

grabbed Mr. McMullin as he was falling and directed him to the ground on his back, in the

opposite traffic lane. PSMF ¶¶ 111, 113; DSMF ¶¶ 60, 62. Trooper Peirson landed on top

of him. DSMF ¶ 61.

          Once on the ground, Trooper Peirson straddled Mr. McMullin’s body. PSMF ¶ 115;

DSMF ¶ 63. As he attempted to handcuff Mr. McMullin, Trooper Peirson shouted, “Turn

around! Put your hands behind your back!” DSMF ¶ 63. At this point, the video shows Mr.

McMullin’s arm moving upwards towards Trooper Peirson. Cruiser Video, 17:26 – 17:35

(Doc. 20-1, #64). While the parties contest the purpose of this movement, 2 the parties

nevertheless agree that Mr. McMullin exclaimed “Officer!” and moved his hands in front

of his face. DSMF ¶ 65; PSMF ¶ 116.

          Trooper Peirson then struck Mr. McMullin a second time, possibly with a closed

fist, and rolled Mr. McMullin onto his stomach, shouting “Give me your hands, now!”

PSMF ¶¶ 117-118; DSMF ¶¶ 69-70. Mr. McMullin responded, “Officer, relax!” DSMF ¶

71.

          With Mr. McMullin on his stomach, Trooper Peirson struggled to gain control of

Mr. McMullin’s wrists as they were under his chest and Trooper Peirson could not reach

2
    Trooper Peirson claims Mr. McMullin “swung his arm at Trooper Peirson.” DSMF ¶ 64. In contrast, Mr.
    McMullin asserts he “never tried to swing at the Trooper.” PSMF ¶ 106. Regardless of whether or not the
    movement is properly characterized as a “swing,” the video makes it clear Mr. McMullin did move his
    arm towards Trooper Peirson.


                                                      5
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 6 of 19                                 PageID #: 324




them. Id. ¶ 72. At this point, Trooper Peirson asserts Mr. McMullin “kept moving his hands

and then put his wrists up under his chest so [he] could not reach them.” Id. ¶ 72. 3

           Trooper Peirson then grabbed the back of Mr. McMullin’s head and pushed it down

into the pavement and delivered a third blow to the back of Mr. McMullin’s head. DSMF

¶ 73; PSMF ¶¶ 120-21, 126. 4 Once again, during his deposition, Mr. McMullin admitted

to speaking following this third blow. Cruiser Video, 17:48, (Doc. 20-1); McMullin Dep.

42:13-16 (ECF No. 20-7, #162). After this strike, Trooper Peirson attached handcuffs to

one of Mr. McMullin’s wrists. DSMF ¶ 74.

           Trooper Peirson maintains that Mr. McMullin “continued to resist” after one wrist

was handcuffed and continued to keep the other wrist away from Trooper Peirson. Id. ¶¶

75, 77. Mr. McMullin denies offering resistance while he was on the ground, but it is

apparent from the video that he was conscious throughout the struggle and did not comply

with orders to give up his hands. Pl.’s Response to DSMF ¶ 75; Dep. of Kylie Tibbetts

(“Tibbetts Dep.”) 17-18 (ECF No. 20-8, #184-85). Regardless, the parties agree that




3
    The Plaintiff attempts to deny this assertion by citing to a portion of Kylie Tibbetts’s deposition testimony
    in which she stated “[McMullin] didn’t move at all” after the officer struck him. Dep. of Kylie Tibbetts
    (“Tibbetts Dep.”) 18:2 (ECF No. 20-8, #185). However, the Plaintiff takes this statement out of context.
    Although it is unclear to which blow the witness is referring when she initially made this statement, she
    later clarified during the same deposition that it was after the third blow that McMullin “stopped resisting”
    and not after this second blow. Id. 53:7-15 (ECF No. 20-8, 193).
4
    It is at this point that one of the witnesses, Kylie Tibbetts, testifies—in contrast to Mr. McMullin’s own
     testimony that he was knocked unconscious after the first blow—that Mr. McMullin was knocked
     unconscious. Tibbetts Dep. 53:12-15 (ECF No. 20-8, #193). She stated she “honestly believe[d] [Trooper
     Peirson] hit [Mr. McMullin] hard enough to knock him out” and later clarified that Mr. McMullin “was
     knocked out at that point.” Tibbetts Dep. 17:23-25, 18:3-7 (ECF No. 20-8, #184, 85); 53:7-15 (ECF No.
     20-8, 193) (clarifying that this statement refers to the third blow).

                                                         6
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 7 of 19             PageID #: 325




Trooper Peirson then commanded Mr. McMullin to “turn around, give me the other hand.”

DSMF ¶ 76.

       When Mr. McMullin did not comply, Trooper Peirson ordered Mr. McMullin to

give him his other hand two additional times—the final command coming eight seconds

after the previous. Id. ¶¶ 78, 80. Trooper Peirson eventually pulled Mr. McMullin’s wrist

out from under his body, scraping his hand in the process. Id. ¶ 81, 82.

       Measured from the moment Trooper Peirson first grabbed Mr. McMullin’s wrist to

the time Trooper Peirson completed handcuffing Mr. McMullin, the confrontation lasted

approximately 44 seconds. Id. ¶ 83. The record and parties are unclear as to whether

Trooper Peirson delivered a fourth strike prior to successfully handcuffing Mr. McMullin.

DSMF ¶ 85; PSMF ¶ 127. Both parties confirm Mr. McMullin spoke to Trooper Peirson

“throughout their struggle.” DSMF ¶ 87.

       After the confrontation, Trooper Peirson noticed Mr. McMullin had cuts on the

bridge of his nose and asked Mr. McMullin if he needed an ambulance, to which Mr.

McMullin responded in the affirmative. Id. ¶¶ 92-93. Trooper Peirson waited with Mr.

McMullin until he was placed in the ambulance. Id. ¶ 94.

                                     DISCUSSION

       Summary judgment is appropriate “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). As cautioned by the Supreme Court, “the mere existence of

some alleged factual dispute between the parties will not defeat an otherwise properly

supported motion for summary judgment; the requirement is that there be no genuine issue

                                            7
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 8 of 19                 PageID #: 326




of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). A material

fact is one that has the potential to determine the outcome of the litigation. Id. at 248; Oahn

Nguyen Chung v. StudentCity.com, Inc., 854 F.3d 97, 101 (1st Cir. 2017). To raise a

genuine issue of material fact, Plaintiff McMullin must demonstrate that the record

contains evidence that would permit the finder of fact to resolve the material issues in his

favor. See Triangle Trading Co. v. Robroy Indus., Inc., 200 F.3d 1, 2 (1st Cir. 1999)

(“Unless the party opposing a motion for summary judgment can identify a genuine issue

as to a material fact, the motion may end the case.”).

       Trooper Peirson argues that the amount of force he employed to secure Mr.

McMullin was reasonable under the circumstances and that, alternatively, it is not beyond

debate whether the force in question exceeded a “clearly established” limit such that he

would be deprived of qualified immunity. Def.’s Mot. Summ. J. at 2, 12-20. When

navigating a claim for summary judgment involving qualified immunity, it is “wise for

courts to cabin these standards and keep them logically distinct, first identifying the version

of events that best comports with the summary judgment standard and then asking whether,

given that set of facts, a reasonable officer should have known that his actions were

unlawful.” Morelli v. Webster, 552 F.3d 12, 19 (1st Cir. 2009). As the first step of a

qualified immunity inquiry asks, in essence, whether excessive force has been established

under the Fourth Amendment, I will consider first the Plaintiff’s excessive force claim and

then turn to the application of qualified immunity. Id. at 23.




                                              8
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 9 of 19                  PageID #: 327




I. Excessive Force Under 42 U.S.C. § 1983 and The Fourth Amendment

       Trooper Peirson is entitled to summary judgment on Mr. McMullin’s excessive

force claim because the amount of force Trooper Peirson used to effectuate Mr.

McMullin’s arrest was reasonable under the circumstances, and, therefore, was not

objectionable under the Fourth Amendment.

       The Fourth Amendment guarantees the government will not violate an individual’s

right “to be secure in their persons . . . against unreasonable . . . seizures.” U.S. CONST.

amend. IV. As established in Graham v. Connor, this protection extends to citizens in the

context of an arrest. 490 U.S. 386, 388 (1989). However, this constitutional shield does

not wholly forbid the use of force in an arrest; instead, it is well-established that “the right

to make an arrest or investigatory stop necessarily carries with it the right to use some

degree of physical coercion or threat thereof to effect it.” Id. at 396. Thus, I must evaluate

the Plaintiff’s claim of excessive force through the lens of the Fourth Amendment’s

“objective reasonableness” standard which requires plaintiffs to “show not only that [the

law enforcement officer] employed force . . . but also that that level of force was objectively

unreasonable under the circumstances.” Fernandez-Salicrup v. Figueroa-Sancha, 790

F.3d 312, 326 (1st Cir. 2015).

       The determination of whether the force used by the law enforcement officer was

objectively unreasonable requires courts to engage in “a fact-intensive inquiry that is highly

sensitive to the circumstances of the particular case.” Jarrett v. Town of Yarmouth, 331

F.3d 140, 148 (1st Cir. 2003). I must look to the totality of the circumstances and consider

a variety of factors which may include: “the severity of the crime at issue, whether the

                                               9
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 10 of 19                PageID #: 328




suspect poses an immediate threat to the safety of the officers or others, and whether he is

actively resisting arrest or attempting to evade arrest by flight.” Graham, 490 U.S. at 396.

Although this inquiry is fact-intensive, if the facts viewed most favorably to the plaintiff

do not permit a finding that the officer’s use of force was excessive under the

circumstances, a court should grant the officer’s summary judgment motion. See, e.g.,

Manchester v. Cumberland Cty. Sheriff's Dep't, 2017 WL 1954761, at *4 (D. Me. May 10,

2017) (concluding after a review of the facts that because “[n]one of th[e] evidence directly

or indirectly contradict[ed] [the police officer’s] affidavit that he did not use any physical

force,” summary judgment must be granted.).

       A. Reasonableness Under Graham

              1. Severity of the crime

       The record establishes that Trooper Peirson had probable cause to arrest Mr.

McMullin for criminal OUI, 29-A M.R.S. § 2411; DSMF ¶ 17; JSF ¶ 2. Criminal OUI is a

“serious offense,” albeit one that does not always present the same degree of risk that may

be present in the context of an “officer confront[ing] a suspect engaged in an offense like

robbery or assault.” Parker v. Gerrish, 547 F.3d 1, 9 (1st Cir. 2008). Here, Plaintiff was

very much inebriated, and he behaved in an irresponsible and defiant manner. Thus, even

though Mr. McMullin’s drunken behavior, standing alone, would not call for an

overwhelming application of force, it necessitated a physical intervention and significantly

complicated Trooper Peirson’s efforts to take Mr. McMullin into custody. Moreover, Mr.

McMullin’s failure to submit to arrest generated both a threat to public safety and a



                                             10
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 11 of 19                              PageID #: 329




resistance scenario that justified a somewhat greater application of force than merely laying

hands on his person.

                  2. Threat to safety

          Mr. McMullin did not pose an immediate physical threat to the safety of Trooper

Peirson or others during his sobriety test. However, after being informed that he would be

arrested, Mr. McMullin refused to submit to arrest and led Trooper Peirson in an unsafe

do-si-do in the middle of the roadway. This behavior presented a hazard to his safety and

the safety of Trooper Peirson, and it required Trooper Peirson to adopt a somewhat more

commanding method of subduing Mr. McMullin. Moreover, because this encounter took

place in the roadway, it was reasonable for Trooper Peirson to attempt to bring the matter

to a close expeditiously. 5

                  3. Actively resisting arrest

          In this case, the record—including the video recording, the deposition transcripts,

and even Mr. McMullin’s own testimony and admissions—establishes that Mr. McMullin

continued to resist arrest throughout the encounter. It is clear Mr. McMullin was neither

subdued nor nonresistant until after he was handcuffed—approximately two minutes after

he had been informed he was under arrest and following three or four blows from Trooper

Peirson. 6


5
    See, e.g., Parker, 547 F.3d at 9 (commenting that “the offense of resisting arrest could certainly pose a
    risk to an arresting officer.”).
6
    The Plaintiff made a point of disputing the reasonableness of the force used by Trooper Peirson on the
    basis that it was administered with a closed fist. This assertion is flatly denied by Trooper Peirson, who
    maintained the blows were administered with an open hand. Whether the force was administered with an
    open hand or closed fist is not determinative in my view because an open hand strike could involve as

                                                      11
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 12 of 19                           PageID #: 330




        Regardless of his motives, Mr. McMullin admits to having refused to submit to

arrest by consistently backing away from Trooper Peirson for over a minute—resulting in

Trooper Peirson’s reasonable belief that force was necessary to effectuate the arrest. See,

e.g., Poole v. City of Shreveport, 691 F.3d 624, 629 (5th Cir. 2012) (holding that the force

used by arresting police officers was not excessive because the plaintiff “refused to

comply” with the police officer’s repeated command to “turn around and give up his right

arm” and instead who backed away from the officers and then responded with “escalating

verbal and physical resistance”). Once Trooper Peirson grabbed Mr. McMullin’s wrist in

an attempt to restrain him, Mr. McMullin continued to refuse to comply with Trooper

Peirson’s demands that he submit to arrest, ultimately requiring Trooper Peirson to pull

Mr. McMullin’s wrist out from under his body after 44 seconds of struggle.

        In his claim, Mr. McMullin glosses over his initial refusal to submit to arrest by

characterizing his actions as “casually back[ing] away from the Trooper for a little over

one minute.” Pl.’s Resp. to Def.’s Mot. Summ. J. 6-7 (ECF No. 29, #257-58). However,

this description is in direct conflict with the video recording which shows an intoxicated

Mr. McMullin erratically backing away from Trooper Peirson all the while refusing to




  much force as a closed fist, depending on the manner of delivery. The Plaintiff has failed to supply—
  and I am also unaware of—any precedent in which a closed fist was considered presumptively
  unreasonable. Instead, courts must evaluate the use of force within the context of the situation and have
  found even greater levels of force reasonable under the Fourth Amendment’s “objective reasonableness”
  standard. See, e.g., Statchen v. Palmer, 623 F.3d 15, 17 (1st Cir. 2010) (finding that a police officer
  “kneeing and hitting” an arrestee was reasonable under the circumstances).


                                                   12
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 13 of 19                                 PageID #: 331




submit to Trooper Peirson’s consistent and calm demands that he turn around and put his

hands behind his back. 7

                           a. Continued resistance

          Once the situation escalated and Trooper Peirson grabbed Mr. McMullin’s wrist,

Mr. McMullin’s claims of nonresistance hinge on his assertion that he was knocked

unconscious after the first blow from Trooper Peirson. The Plaintiff’s argument

presumably follows that if he was unconscious, he could not have actively resisted arrest. 8

However, this argument is, at best, inconsistent with the record. While I must consider the

facts in the light most favorable to the Plaintiff, the Plaintiff cannot survive summary

judgment on facts that are unsupported by the record. Scott v. Harris, 550 U.S. 372, 380

(2007) (“When opposing parties tell two different stories, one of which is blatantly

contradicted by the record, so that no reasonable jury could believe it, a court should not

adopt that version of the facts for purposes of ruling on a motion for summary judgment.”).



7
    Plaintiff cannot create a factual dispute when his claimed actions are directly contradicted by the video
    recording to which the parties have stipulated. In such cases, courts must “view[ ] the facts in the light
    depicted by the videotape.” Scott v. Harris, 550 U.S. at 380-81. Unlike cases in which the video recording
    revealed that the Plaintiff’s actions were passive and therefore force was unreasonable, see, e.g.,
    Blackstone v. Quirino, 309 F. Supp. 2d 117, 128 (D. Me. 2004), the present record contains audio and
    visual evidence of Mr. McMullin’s continued resistance to arrest.
8
    As a general rule, force applied after an arrestee is subdued and nonresistant is objectively unreasonable.
    See, e.g., Jennings v. Jones, 499 F.3d 2, 6 (1st Cir. 2007) (indicating that a jury could reasonably conclude
    the force administered by a police officer was unreasonable under the Fourth Amendment when testimony
    indicated that the police officer “continued to twist [the arrestee’s] ankle after [the arrestee] had stopped
    resisting and was under control,” eventually breaking the ankle); Hodsdon v. Town of Greenville, 52
    F.Supp.2d 117, 122 (D. Me. 1999) (indicating that, if accepted, the Plaintiff’s version of events—which
    included the arresting officer slamming the Plaintiff’s head on the police car and grabbing the Plaintiff
    by the hair and slamming his face onto a gravel road after the Plaintiff was handcuffed—could reasonably
    lead a jury to find a violation of the Fourth Amendment).


                                                        13
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 14 of 19                            PageID #: 332




          Despite his claims of unconsciousness caused by Officer Peirson’s first blow, Mr.

McMullin admits to having moved his hands in front of his face and exclaiming “Officer!”

prior to the second blow. 9 Similarly, Mr. McMullin admits to speaking prior to the third

blow and soon after the fourth blow. Mr. McMullin further undercuts his claim of

unconsciousness by acknowledging he “[spoke] to Trooper Peirson throughout their

struggle.” DSMF ¶ 87. This testimony is confirmed by the audio from the video recording

which captured Mr. McMullin’s voice at many points throughout the confrontation. 10

          Considering these facts, and in order to accept that Mr. McMullin was unconscious

when he was struck the second, third, or possibly fourth time, “a jury would have to

conclude that McMullin was able to carry on a lucid conversation with Trooper Peirson,

while unconscious.” Def.’s Reply Mem. in Supp. of Mot. Summ. J., 4 (ECF No. 34, #314).

Even if I assume, all objective evidence to the contrary, that there is a factual dispute

regarding whether Mr. McMullin was rendered unconscious by the first blow, his

unconsciousness could only have been momentary and occurred during a period during

which no blows were administered. This is confirmed by the ineluctable conclusion that

he was lucid enough to speak and move his arms prior to the second blow from Trooper

Peirson.




9
    When faced with incredulity from counsel regarding his alleged unconscious state and evidence of having
    spoken at various times throughout the physical altercation, Mr. McMullin retreated from his absolute
    insistence he was knocked unconscious and conceded he may have been “semi” unconscious. McMullin
    Dep. 40-46 (ECF No. 20-7, #156).
10
     In his deposition, Mr. McMullin confirmed his voice at various points throughout the recording.
     McMullin Dep. 40-46 (ECF No. 20-7, #161-63).

                                                     14
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 15 of 19                PageID #: 333




       To support his claim, Mr. McMullin also cites testimony from one of the passengers,

Kylie Tibbetts, who asserts Mr. McMullin was knocked unconscious, but only after the

third blow from Trooper Peirson. This testimony, which does not align with Mr.

McMullin’s timeline of the interaction and which is based on observations from a witness

without a clear view of the struggle, is similarly contradicted by the objective evidence in

the summary judgment record; to wit, the video, which confirms Mr. McMullin spoke to

Trooper Peirson following the third blow.

       In light of Mr. McMullin’s continued resistance, the use of force in order to

effectuate his arrest was reasonable. Courts must evaluate the use of force within the

context of the situation and allow “for the fact that police officers are often forced to make

split-second judgments—in circumstances that are tense, uncertain, and rapidly evolving—

about the amount of force that is necessary in a particular situation.” Graham, 490 U.S. at

397. Thus, courts have found punches or even greater levels of force reasonable under the

Fourth Amendment’s “objective reasonableness” standard. See, e.g., Statchen v. Palmer,

623 F.3d 15, 17 (1st Cir. 2010) (finding that a police officer using “considerable” force in

the form of “kneeing and hitting” an arrestee who, like Mr. McMullin, was intoxicated and

refusing to submit to arrest, was reasonable under the circumstances); Scott v. Harris, 550

U.S. 372 (2007) (affirming that, in light of the risk of bodily harm the arrestee’s actions

posed to both the public and the officers, the use of “deadly force” in the form of ramming

the arrestee’s car off the road was reasonable).

       Trooper Peirson was faced with an intoxicated man consistently resisting arrest—

both verbally and physically—after repeated requests for compliance. In response, Trooper

                                             15
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 16 of 19                                PageID #: 334




Peirson administered force in the form of three to four blows to the head and immediately

ceased the use of force once Mr. McMullin had been handcuffed. Under these

circumstances, Trooper Peirson used force that was “consistent with the amount of force

that a reasonable police officer would think necessary to bring the arrestee into custody.”
                                                                                                   11
Gaudreault v. Municipality of Salem, Mass., 923 F.2d 203, 205 (1st Cir. 1990).



II. Qualified Immunity

           The doctrine of qualified immunity protects law enforcement officers “from liability

for civil damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982). Furthermore, this expansive principle protects “all

but the plainly incompetent or those who knowingly violate the law.” Malley v. Briggs,

475 U.S. 335, 341 (1986); see also MacDonald v. Town of Eastham, 745 F.3d 8, 11 (1st

Cir. 2014).

           A qualified immunity analysis generally entails a two-prong approach. Pearson v.

Callahan, 555 U.S. 223, 232 (2009); Saucier v. Katz, 533 U.S. 194, 201 (2001). In the

First Circuit, the second prong of this analysis has been subdivided into two inquiries which

are “functionally identical” to the test required by Saucier. See Jennings v. Jones, 499 F.3d



11
     Mr. McMullin also offers vague argument that the alleged severity of his injuries following the altercation
     is indicative of the excessiveness of the force used against him. However, Mr. McMullin failed to submit
     any evidence substantiating the extent of his injuries or the treatment he received, despite the Defendant
     drawing attention to this factual deficiency. Without a factual basis to substantiate his claims, I cannot
     consider the extent or severity of his alleged injuries in my analysis.

                                                       16
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 17 of 19                            PageID #: 335




2, 10 (1st Cir. 2007). Thus, on the one hand, the court considers whether “the facts, taken

most favorably to the party opposing summary judgment, make out a constitutional

violation.” Ford v. Bender, 768 F.3d 15, 23 (1st Cir. 2014). On the other, the court looks

to “whether the contours of the right, in general, were sufficiently clear, and whether, under

the specific facts of the case, a reasonable defendant would have understood that he was

violating the right.” Id. (citing Maldonado v. Fontanes, 568 F.3d 263, 269 (1st Cir.

2009)). 12 In this second inquiry, “[t]he burden of demonstrating the law was clearly

established at the time of the alleged constitutional violation is on the plaintiff.” McGrath

v. Tavares, 757 F.3d 20, 29 (1st Cir. 2014). As stated by the Supreme Court, “[c]ourts have

discretion to decide the order in which to engage the[ ] two [qualified immunity] prongs;”

however, “under either prong, courts may not resolve genuine disputes of fact in favor of

the party seeking summary judgment.” Tolan v. Cotton, 572 U.S. 650, 656 (2014).

        Concluding, as I have, that the material facts, taken in the light most favorable to

the Plaintiff, fall short of making out a constitutional violation because the force

administered was objectively reasonable under the circumstances, it necessarily follows



12
  As discussed in Adle v. Maine Police Department,
        The intersection between summary judgment and qualified immunity can be tricky to
        navigate. The difficulty arises because the summary judgment standard requires absolute
        deference to the nonmovant's factual assertions (as long as those assertions are put forward
        on personal knowledge or otherwise documented by materials of evidentiary quality),
        whereas qualified immunity, when raised on summary judgment, demands deference to the
        reasonable, if mistaken actions of the movant. In order to ease this inherent tension, we
        think it wise for courts to cabin these standards and keep them logically distinct, first
        identifying the version of events that best comports with the summary judgment standard
        and then asking whether, given that set of facts, a reasonable officer should have known
        that his actions were unlawful.
279 F. Supp. 3d 337, 349–50 (D. Me. 2017) (internal citations omitted).


                                                    17
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 18 of 19                                 PageID #: 336




that Trooper Peirson is entitled to qualified immunity. However, while I recognize that the

margin between “objectively” unreasonable force and “clearly established” unreasonable

force is a very narrow one, 13 there is an actual margin. Kisela v. Hughes, 138 S. Ct. 1148,

1152 (2018) (discussing the “hazy borders” that often exist in excessive force cases);

Mullenix v. Luna, 136 S. Ct. 305, 312 (2015) (same, noting that qualified immunity takes

hold in these areas). To defeat qualified immunity, Mr. McMullin must rely on “clearly

established law” by, for example, “identify[ing] a case where an officer acting under

similar circumstances [] was held to have violated the Fourth Amendment.” White v. Pauly,

137 S. Ct. 548, 552 (2017). “While it is not necessary for the [p]laintiff to find an identical

case, ‘existing precedent must have placed the statutory or constitutional question beyond

debate.’” Adle v. Maine State Police Dep’t, No. 1:15-CV-458-NT, 2017 WL 3902859, *12

(D. Me. Sept. 6, 2017) (quoting Mullenix, 136 S. Ct. 305, 308 (2015)). Assuming,

arguendo, that there are rational people among us who would take exception to the amount

of force Trooper Peirson applied to Mr. McMullin, the record in this case simply does

permit the finding of a non-debatable constitutional violation. Nor does the law in this

circuit. Statchen v. Palmer, 623 F.3d 15 (1st Cir. 2010) (affirming summary judgment for

officers who employed force to arrest an individual for public drunkenness, which force




13
      See Roy v. Inhabitants of City of Lewiston, 42 F.3d 691, 695 (1st Cir. 1994) (“In theory, substantive
     liability and qualified immunity are two separate questions and, indeed, may be subject to somewhat
     different procedural treatment. In police misconduct cases, however, the Supreme Court has used the
     same ‘objectively reasonable’ standard in describing both the constitutional test of liability . . . and the
     Court's own standard for qualified immunity.” (citation omitted)).

                                                        18
Case 1:17-cv-00312-LEW Document 35 Filed 01/16/19 Page 19 of 19           PageID #: 337




included “kneeing and hitting” and produced broken ribs from a fall to the ground due to

the plaintiff’s initial failure to submit).

                                        CONCLUSION

       For the foregoing reasons, the court GRANTS the Defendant’s Motion for

Summary Judgment.

       SO ORDERED.

       Dated this 16th day of January, 2019


                                                    /s/ Lance E. Walker
                                                   U.S. DISTRICT JUDGE




                                              19
